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AO 24ID (Rev @2/18)   Judgment ma Cnmmal Case
                      Sheet I



                                        UNITED STATES DISTRICT COURT
                                                      Eastern District of Pennsylvania

             UNITED ST ATES OF AMERICA                                   )          JGDGME'.\TT IN A CRIMINAL CASE
                                v.
                  CLIFTON JOHNSON, JR.
                                                     FILED ~              )         Case Number: DPAE2:17CR00425
                                                     SEP· 2o2018 ~                  CSM :Sumber: 69686-066
                                                BKATE BARKMAN, Clerk )               Richard A. Shore
                                                 Y            Dep. Cler~            Defendant's Attorney
THE DEFE:SDANT:
~pleaded gmlty to count(s)            One and Two of the Superseding Information on 11/6/2017
                                     -       -
D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found gmlty on count(s)
  after a plea of not guilty.

The defendant is ad3ud1cated gmlty of these offenses:

Title & Section

: 21 USC 846 and                · conspiracy to distrioute five kilograms or more of a mixture·             , 3/13/2017               ,. One

 841 (b)(1 )(A                   and substance containing cocaine



       The defendant 1s sentenced as provided m page'> 2 through                7          ofth1s judgment. The sentence 1s imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

D Count(s)                                              DJS       Dare d1srmssed on the mot10n of the Umted States

         It is ordered that the defendant must notify the Umted States attorney for this d1stnct w1thm 30 days of any change of name, residence,
or ma1lmg address until all fines, restitut10n, costs, and special assessments imposed by this judgment are fufly paid. If ordered to pay rest1tut1on,
the defenaant must notify the court and United States attorney of material changes m economic ctrcumstances

                                                                          9/18/2018
                                                                         Date of lmpos1t10n of Judgment


                                                                              q~'f)~
                                                                         Signature of Judge




                                                                          Paul S. Diamond, U.S. District Court Ju~ge
                                                                         Name and fttle of Judge




                                                                         Date
                                 Case 2:17-cr-00425-PD Document 45 Filed 09/20/18 Page 2 of 7
    AO 2458 (Rev. 02/18)      Judgment ma Cnmmal Case
                              Sheet IA
                                                                                                            Judgment -Page   2   of   7
    DEFENDANT: CLIFTON JOHNSON. JR.
    CASE NUMBER: DPAE2:17CR00425

                                                      ADDITIONAL COU.STS OF CONVICTION
    Title & Section                     ~!!""
                                                Nature of Offense         ~-7''>'<"<"«-'   -~,·
                                                                                                       Offense Ended
    21   use 846 and                    !I Attempt to pos~ess with tpe intent to distribute fiVe       :13/13/2017
    841 (b) (1) (A) and                         kilograms or more of cocaine and aiding and abetting

l 18 usc~,,-2"'"'"~'~"cc   <-M-<-'<•-




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                                                                                                                                          J




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AO 24~8 (Rev "02/18) Judgment m Cnmmal Case
                       Sheet 2 -   Impnsonment

                                                                                                       Judgment - - Page   3   of   7
 DEFENDANT: CLIFTON JOHNSON, JR.
 CASE ~L'"MBER: DPAE2:17CR00425

                                                              IMPRIS0~'.\1ENT

             The defendant 1s hereby committed to the custody of the Federal Bureau of Pnsons to be imprisoned for a total
term of-

  FORTY-EIGHT (48) Months on Count One of the Superseding Information and FORTY-EIGHT (48) Months on Count Two of
  the Superseding Information, to run concurrently with each other.



      ~ The court makes the followmg recommendations to the Bureau of Pnsons.

  It is recommended that Defendant be designated close to Annapolis, MD




      lil!   The defendant 1s remanded to the custody of the Cnited States !vfarshal

      0      The defendant shall surrender to the Umted States Marshal for this d1stnct:

             D   at                                 D a.m.       D pm         on

             0   as notified by the United States Marshal

      D The defendant shall surrender for service of sentence at the mst1tution designated by the Bureau of Prisons·
             0   before 2 p.m. on

             0   as notified by the Cnited States Marshal.

             0   as notified by the Probation or Pretrial Services Office.



                                                                     RETUR.~

 I have executed this judgment as follows:




             Defendant delivered on                                                        to

 at                                                  . , with a certified copy ofth1s judgment.



                                                                                                     L'NTfED STATES MARSHAL



                                                                             By                         -              -
                                                                                                  DEPL'TY L'NTTED STATES MARSHAL
                           Case 2:17-cr-00425-PD Document 45 Filed 09/20/18 Page 4 of 7
AO 24'5B (Rev''02/18) Judgment ma Cnmmal Case
                      Sheet 3 - Supervised Release
                                                                                                               Judgment-Page   4   of    7_
DEFENDA;-..JT: CLIFTON JOHNSON, JR.
CASE NUMBER: DPAE2:17CR00425
                                                         SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of
    Five (5) Years on Count One (1) of the Superseding Information and Five (5) Years on Count Two of the Superseding
    Information, to run concurrently wrth each other.




                                                     MA.~DATORY             CONDITIONS

I.     You must not commit another federal, state or local cnme
2.     You must not unlawfully possess a controlled substance.
3      You must refram from any unlawful use of a controlled substance. You must submit to one drug test withm 15 days of release from
       impnsonment and at least two periodic drug tests thereafter, as determmed by the court.
             liZl The above drug testmg condition is suspended, based on the court's determmation that you
                  pose a low risk of future substance abuse (check if applzcab/eJ
4.      D You must make restttution m accordance with 18 U.S C. §§ 3663 and 3663A or any other statute authorizing a sentence of
              restitution. (check if appbcab/e)
5       ltf   You must cooperate m the collection of DNA as directed by the probation officer. (check if applicable)
6       D You must comply with the reqmrements of the Sex Offender Reg1strat10n and Nottficat1on Act (34 U.S.C. § 20901, et seq.) as
              directed by the probatton officer, the Bureau of Prisons, or any state sex offender registration agency m the location where you
              reside, work, are a student, or were convicted ofa quahfymg offense. (check 1/appbcable;
7       D You must participate m an approved program for domestic v10lence.          (check   1/ applicable)




You must comply with the standard condit10ns that have been adopted by this court as well as with any other conditions on the attached
page
                        Case 2:17-cr-00425-PD Document 45 Filed 09/20/18 Page 5 of 7
A0'245B (Rev 02118) Judgment ma Crurunal Case
                     Sheet 3A - - Supervised Release
                                                                                              Judgment-Page        5        of         7
DEFENDANT: CLIFTON JOHNSON, JR.
CASE ~L'"MBER: DPAE2:17CR00425

                                      STA~DARD          CONDITIO~S            OF SUPERVISION
As part of your supervised release, you must comply with the followmg standard condit10ns of supervision These conditions are imposed
because they establish the basic expectat10ns for your behavior while on superv1s10n and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bnng about improvements m your conduct and condit10n.

    You must report to the probat10n office in the federal j udic1al district where you are authonzed to reside within 72 hours of your
    release from rmprisonment, unless the probat10n officer mstructs you to report to a different probat10n office or withm a different time
    frame.
2. After mitially reporting to the probation office, you will receive mstructions from the court or the probation officer about how and
    when you must report to the probat10n officer, and you must report to the probation officer as instructed.
3. You must not knowmgly leave the federal 1udic1al distnct where you are authonzed to reside without first gettmg permiss10n from the
    court or the probation officer.
4. You must answer truthfully the quest10ns asked by your probation officer.
5. You must hve at a place approved by the probat10n officer. If you plan to change where you hve or anythmg about your living
    arrangements (such as the people you live with), you must notify the probat10n officer at least 10 days before the change. Ifnot1fymg
    the probation officer m advance is not possible due to unanticipated circumstances, you must notify the probation officer withm 72
    hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probat10n officer to
    take any items prohibited by the condit10ns of your superv1s1on that he or she observes m plam view.
7   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probat10n officer excuses you from
    domg so. If you do not have full-time employment you must try to find full-time employment, unless the probat10n officer excuses
    you from domg so. If you plan to change where you work or anythmg about your work (such as your posit10n or your job
    responsibilities), you must notify the probation officer at least l 0 days before the change. If notlfymg the probation officer at least 10
    days m advance 1s not possible due to unanticipated circumstances, you must notify the probation officer withm 72 hours of
    becommg aware of a change or expected change.
8   You must not commumcate or mteract with someone you know 1s engaged m cnmmal act1V1ty. If you know someone has been
    convicted of a felony, you must not knowingly communicate or mteract with that person without first getting the permission of the
    probation officer
9.  If you are arrested or questioned by a law enforcement officer, you must notify the probation officer withm 72 hours.
IO. You must not own, possess, or have access to a firearm, ammun1t1on, destructive device, or dangerous weapon (1.e., anythmg that was
    designed, or was modified for, the specific purpose of causing bodily m1ury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or mformant without
    first gettmg the perm1ss1on of the court.
12 If the probation officer determmes that you pose a nsk to another person (mcluding an orgamzat10n), the probat10n officer may
    require you to notify the person about the nsk and you must comply with that mstruct1on. The probat10n officer may contact the
    person and confirm that you have notified the person about the nsk
13 You must follow the mstruct10ns of the probation officer related to the conditions of superv1s1on



U.S. Probation Office Use Only
AUS. probat10n officer has mstructed me on the condit10ns specified by the court and has proVIded me with a written copy of this
judgment containing these condit10ns. For further mformat10n regarding these conditions, see Overview of Probatwn and Supervised
Release Cond1twns, available at: www.uscourts.gov.


Defendant's Signature                                                                                   Date
                            Case 2:17-cr-00425-PD Document 45 Filed 09/20/18 Page 6 of 7
AO 2458 (Re\c 02118)     Judgment m a Cnmmal Case
     ..                  Sheet 5 - Cnmmal Monetary Penalties
                                                                                                            Judgment - Page             of         7
 DEFENDANT: CLIFTON JOHNSON, JR.
 CASE NUMBER: DPAE2:17CR00425
                                                CRIMINAL MONETARY PENALTIES
          The defendant must pay the total cnmmal monetary penalt1e<> under the schedule of payments on Sheet 6.


                        Assessment                 JVT A Assessment*                    Fine                      Restitution
 TOTALS               $ 200.00                   $ 0.00                               $ 0.00                    $ 0.00



 D The determmat1on of rest1tut1on 1s deferred until                         . An Amended Judgment m a Crzmmal Case (AO 245C) will be entered
          after such determmauon.

 D The defendant must make restitut10n (includmg commumty restitution) to the following payees in the amount hsted below.

          If the defendant makes a partial payment, each payee shaJI receive an approximately proportioned payment, unless specified otherwise m
          the pnonty order or percentage payment column below However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
          before the Umted States 1s paid.

.same of Payee                                                          Total Loss**             Restitution Ordered            Priority or Percentai:e
                                                                                                                                  ~ ·-· . . .  •.  ~' "''*1
                                                               \
                                                                                                                                                          '
                                                           j                                                                                 ~»'""'~"'""j




 TOTALS                                $                           0.00           $                         0 00


 D         Rest1tut10n amount ordered pursuant to plea agreement $

 D         The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine 1s paid m full before the
           fifteenth day after the date of the judgment, pursuant to 18 C S.C. § 36 l 2(f). All of the payment options on Sheet 6 may be subject
           to penalties for delmquency and default, pursuant to 18 U.S.C. § 36 l 2(g)

 D         The court determmed that the defendant does not have the ab1hty to pay mterest and 1t is ordered that.

           D the interest requirement 1s waived for the            D fine     D rest1tuuon.
           D the mterest reqmrement for the          D fine         D     rest1tut10n 1s modified as follows:

 * Justlce for Victims ofTraffickmg Act of2015, Pub. L. No. 114-22.
 ** Fmdmgs for the total amount of losses are required under Chapters 109A, 110,               11 OA, and I l 3A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev 02/18) Judgment m a Cnmmal Case
          .,,       Sheet 6 - - Schedule of Payments

                                                                                                           Judgment -   Page    7     of           7
DEFE:\'DANT: CLIFTON JOHNSON, JR.
CASE NUMBER: DPAE2:17CR00425

                                                       SCHEDULE Of' PA YME~TS

Havmg assessed the defendant's ab1hty to pay, payment of the total crimmal monetary penalties is due as follows:

A     ~      Lump sum payment of$         200 00              due immediately, balance due

             D      not later than           -
                                                                   , or
             lil]   m accordance with   D C,       D D,       D E, or        liZ!   F below~ or

B     D Payment to begm immediately (may be combmed with                   DC,           D D,or     D F below), or
C     D Payment m equal                              (e g. weekly, monthly, quarterly) mstallments of $                        _ over a penod of
                           (e g. months or }'ears), to commence                       (e g. 30 or 60 days) after the date of this judgment, or

D     D Payment m equal                             (eg. weekly, monthly, quarterly) mstallments of $                      _ over a penod of
             _             (e.g. months or years), to commence                      (e g. 30 or 60 days) after release from impnsonment to a
             term of superv1s10n; or

E     D      Payment durmg the term of supervised release will commence w1thm                   (e g. 30 or 60 days) after release from
             1mpnsonment. The court will set the payment plan based on an assessment of the defendant's ab1hty to pay at that time, or

F     !ill   Special instruct10ns regarding the payment of cnminal monetary penalties.

              The defendant shall make payments in the amount of $25.00 per quarter from any wages he may earn in prison in
              accordance with The Bureau of Prisons' Inmate Financial Respons1billty Program. Any portion of the assessment
              that is not paid in full at the time of release from imprisonment shall become a condition of Supervised Release
              and shall be paid at the rate of $50.00 per month.


Unless the court has expressly ordered othefWlse, 1f this Judgment imposes imprisonment, payment of cnminal monetary penalties 1s due durmg
the period of 1mpnsonment All criminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate
Fmancial Respons1b1hty Program, are made to the clerk of the court

The defendant shall receive credit for all payments previously made toward any cnmmal monetary penalties imposed.




0     Joint and Several

      Defendant and C-0-Defendant Names and Case Numbers (including defendant number), Total Amount, Jomt and Several Amount,
      and correspondmg payee, 1f appropriate.




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the followmg court cost(s).

D     The defendant shall forfeit the defendant's mterest in the followmg property to the United States·



Payments shall be applied m the followmg order: (I) assessment, (2) rest1tut10n pnnc1pal, (3) rest1tut1on mterest, (4) fine pnnc1pal, (5) fine
interest, (6) community rest1tut10n, (7) NTA assessment, (8) penalties, and (9) costs, mcluding cost of prosecut10n and court costs.
